[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                        MEMORANDUM OF DECISION de MOTION FOR CONTEMPT AND/OR ORDER PENDENTE LITE (154)
CT Page 4536
This motion is brought in the disjunctive with "and/or" being read as "or" by the court in that contempt is being sought or an order is being sought.
No contempt is found. It is also found that the plaintiff was obliged to pay $3,040 to keep in effect certain life insurance policies owned by and insuring the life of the defendant. These payments were required after the automatic orders were in effect. In similar vein the plaintiff was obliged to pay $1,491 to keep in effect the family's auto policy.
The defendant is ordered to reimburse the plaintiff the sum of $4,531 at the rate of $500 monthly, commencing on April 20, 2000 and on the 20 day of each month thereafter until paid.
HARRIGAN, J.